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                     UNITED STATES BANKRUPTCY COURT
                        MIDDLE DISTRICT OF FLORIDA
                              TAMPA DIVISION
                             www.flmb.uscourts.gov

Anthony X. Coleman                                    Case No. 8:12-bk-01579-KRM

Debtor(s)
______________________________/

                ORDER DISMISSING CONFIRMED CHAPTER 13
               CASE FOR FAILURE TO MAKE PLAN PAYMENTS
      (EFFECTIVE DATE OF THIS ORDER IS 14 DAYS FROM THE DATE OF ENTRY)

       THIS CASE came on for consideration for the purpose of entering an appropriate
order in this case. The Court, having reviewed the record, finds that an Order on
Trustee’s Motion to Dismiss for Failure to Make Payments to the Trustee and Granting
Period to Cure Default (Doc 44) was entered on April 22nd, 2013, for reason of the
Debtor’s delinquency in payments to the Trustee. The Court has been advised that the
Debtor failed to comply with said Order. Therefore, it is,
       ORDERED:

       1.      The Trustee’s Motion to Dismiss is now hereby GRANTED and this case
be and the same is hereby DISMISSED without prejudice.
       2.      That any party in interest may request the Court to examine the fees paid
to the attorney for the Chapter 13 Debtor, by filing a motion to examine attorney’s fees
within ten (10) days from the date of the entry of this Order.
       3.      The Trustee shall first disburse all Trust Fund monies held as adequate
protection, as provided for in this Court’s previously entered Order Establishing Duties of
Trustee and Debtor et seq., entered in this case to those secured creditors provided for in
the Debtor’s proposed Chapter 13 Plan and to administrative expense holders. The
Trustee shall disburse the Trust Fund monies to the secured creditors either in the amount
due or, in the event Trust Fund monies prove insufficient, pro rata. These monies shall
be paid pursuant to the creditor’s proof of claim or, in the event a claim was not
previously filed, pursuant to the terms of the proposed Plan.
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         4.    The Trustee shall disburse to creditors any monies not previously
disbursed and file his/her final report and upon filing of same, shall be discharged of his
duties as Trustee.
         5.    If the Trustee has not already collected his/her percentage fee, he/she shall
deduct same, together with any necessary costs, expenses, or changes.
         6.    The effective date of this Order is delayed 14 days to permit the Debtor to
convert this case to another chapter under the Bankruptcy Code if the Debtor wishes to
do so.
       7.     All pending hearings are hereby canceled, except for any Order to Show
Cause hearings the Court has set.
       December 10, 2014
Dated: ______________




                                       ________________________________
                                       K. RODNEY MAY
                                       UNITED STATES BANKRUPTCY JUDGE

* All reference to “debtor” shall include and refer to both of the debtors in a case filed
jointly by two individuals.

Trustee Kelly Remick is directed to serve a copy of this order on interested parties and
file a proof of service within 3 days of entry of the order.

KR/nag                                                        C13T 12.9.14
